                                                                              Case 2:19-cv-00239-GMS Document 7 Filed 03/12/19 Page 1 of 3




                                                                    1 Brian M. Flaherty, #023207
                                                                      Brian.Flaherty@sackstierney.com
                                                                    2 SACKS TIERNEY P.A.
                                                                      4250 N. Drinkwater Blvd., 4th Floor
                                                                    3 Scottsdale, AZ 85251-3693
                                                                      Telephone: 480.425.2600
                                                                    4
                                                                    5   Attorneys for Plaintiff

                                                                    6
                                                                    7                             IN THE UNITED STATES DISTRICT COURT

                                                                    8                                FOR THE DISTRICT OF ARIZONA
                                                                    9   Ronald H. Pratte,
                                                                   10                Plaintiff,                        No. CV-19-00239-PHX-GMS
                                                                   11   v.                                             STIPULATED MOTION TO DEFER THE
                                                                                                                       PARTIES' EXCHANGE OF INITIAL
SACKS TIERNEY P.A., ATTORNEYS




                                                                   12   Jeffrey Bardwell And Fanny F. Bardwell,        MANDATORY DISCOVERY RESPONSES
                                4250 NORTH DRINKWATER BOULEVARD

                                  SCOTTSDALE, ARIZONA 85251-3693




                                                                   13                Defendants.
                                          FOURTH FLOOR




                                                                   14                                                                (SECOND REQUEST)
                                                                   15
                                                                   16           On March 12, 2019 the Parties learned of a potential conflict of interest as the law

                                                                   17   firm representing Plaintiff formerly represented the Defendant in a divorce proceeding.

                                                                   18   Although that file was closed, issues germane to the divorce may be substantially related to

                                                                   19   the issues in this suit. Therefore, the prior representation could create a conflict of interest

                                                                   20   that must be analyzed by conflict counsel. The initial MIDP is due on March 13, 2019. The

                                                                   21   Parties request leave of Court to defer the exchange of the initial MIDP response for an

                                                                   22   additional fourteen (14) days. With the Court’s approval of this deferral, the Parties agree

                                                                   23   they will either exchange their initial MIDP disclosures by Wednesday March 27, 2019 or

                                                                   24   Plaintiff’s counsel will lodge a substitution of counsel.

                                                                   25           Wherefore the Parties jointly request the Court to approve their deferral request so

                                                                   26   Plaintiff’s counsel can evaluate the potential conflict of interest.

                                                                   27
                                                                   28


                                                                        2357544.v1
                                                                              Case 2:19-cv-00239-GMS Document 7 Filed 03/12/19 Page 2 of 3




                                                                    1
                                                                                DATED this 12th day of March, 2019.
                                                                    2
                                                                                                               SACKS TIERNEY P.A.
                                                                    3
                                                                    4
                                                                                                               By: /s/ Brian M. Flaherty
                                                                    5                                              Brian M. Flaherty
                                                                                                                   Attorneys for Plaintiff
                                                                    6
                                                                    7                                          LAW OFFICES OF THOMAS M. CONNELLY

                                                                    8
                                                                                                               By: /s/Thomas M .Connelly (with permission)
                                                                    9                                                 Thomas M. Connelly
                                                                                                                      Attorneys for Defendants
                                                                   10
                                                                                                               LAW OFFICES OF THOMAS J. MARLOWE
                                                                   11
                                                                   12                                           By: /s/Thomas J. Marlowe (with permission)
                                                                                                                     Thomas J. Marlowe
SACKS TIERNEY P.A., ATTORNEYS




                                                                                                                     Attorneys for Defendants
                                4250 NORTH DRINKWATER BOULEVARD




                                                                   13
                                  SCOTTSDALE, ARIZONA 85251-3693




                                                                   14
                                          FOURTH FLOOR




                                                                   15
                                                                   16
                                                                   17
                                                                   18
                                                                   19
                                                                   20
                                                                   21
                                                                   22
                                                                   23
                                                                   24
                                                                   25
                                                                   26
                                                                   27
                                                                   28

                                                                                                                  2
                                                                        2357544.v1
                                                                              Case 2:19-cv-00239-GMS Document 7 Filed 03/12/19 Page 3 of 3




                                                                    1                                   CERTIFICATE OF SERVICE
                                                                    2
                                                                                I hereby certify that on March 12, 2019, I electronically transmitted the attached
                                                                    3
                                                                        Stipulated Motion to Defer the Parties' Exchange of Initial Mandatory Discovery
                                                                    4
                                                                        Responses to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                                                    5
                                                                        Notice of Electronic Filing to the following CM/ECF registrants:
                                                                    6
                                                                      Thomas M. Connelly
                                                                    7 LAW OFFICES OF THOMAS M. CONNELLY
                                                                      2425 E. Camelback Road, Suite 880
                                                                    8 Phoenix, AZ 85016
                                                                    9   Thomas J. Marlowe
                                                                        LAW OFFICES OF THOMAS J. MARLOWE
                                                                   10   2425 E. Camelback Road, Suite 880
                                                                        Phoenix, AZ 85016
                                                                   11
                                                                        By: /s/Michelle L. Curtsinger
SACKS TIERNEY P.A., ATTORNEYS




                                                                   12
                                4250 NORTH DRINKWATER BOULEVARD

                                  SCOTTSDALE, ARIZONA 85251-3693




                                                                   13
                                          FOURTH FLOOR




                                                                   14
                                                                   15
                                                                   16
                                                                   17
                                                                   18
                                                                   19
                                                                   20
                                                                   21
                                                                   22
                                                                   23
                                                                   24
                                                                   25
                                                                   26
                                                                   27
                                                                   28


                                                                        2357544.v1
